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Local Rule 81
Local Rules of Civil Procedure of the Westem District of New York

Index of Documents Filed or Served in the
New York State Court Action

 

Tab

Document Date Filed or Served

 

 

 

April 16, 2018 (f`lled)

Summons & Complamt June 155 2018 (Served)

 

 

 

 

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Exhibit A

Exhibit A

 

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STATE OF NEW YORK SUPREME COURT
COUNTY OF MONROE

 

JOSEPH J. ARIENO,

PLAINTIFF,
- vs - simmons ,_
Index No.: mag §§ 2

The Plainti£f Designates Monroe
County as the place for trial.

Venue: Based upon residence of the
parties.

THE COUNTY OF MO`NROE and
THE MONROE COUNTY SHERIFF’S DEFARTMENT,

DEFENDANT’S.

 

To the above named Defendant’s:

YOU ARE HEREBY SUMMONED to serve a notice of appearance, on the
Plaintiffs’ Attorney within 20 days after the service of this summons, exclusive
of the day of service, or Within 30 days after the service is complete if this

summons is not personally delivered to you within the State of New York; and

ij

in case of your failure to appear, judgment may ble/"laken against you by default

for the relief demanded in the notice f b ow.

JAMES'P C , SR., ESQ.

Attorne f ‘ laintiff, Joseph J. Arieno
Off'xce st ft`xce Acldress:

One East `n treet

Suite 805
Rochester, New York 14614
Telephone: (585) 423-01 10

Dated: February 16, 2018

 

 

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Facsimile: (585) 423~011 1
E-Mail: jamespvacca@frontiernet.net

Plajntiff"s Address:
JOSEPH J. ARIENO

74 Chestnut Ridge Road
Rochester, New York 14624

Defendants’ Address:
THE COUNTY OF MONROE
THE MONROE COUNTY SHERIFF’S DEPARTMENT

 

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STATE OF NEW YORK SUPREME COURT
COUNTY OF MONROE

 

JOSEPH J. ARIENO,

PLAINTIFF,
` vs ' conm:..mv'.r
I"d¢’~r N°»-' __é§@_t§_d';a§i>

THE COUNTY OF MONROE and
THE MONROE COUNTY SHERIFF’S DEPA.RTMENT,

DEFENDANT’S.

 

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coUN'rY oF MoNRos) ss=

The Plaintiff, Joseph J. Arieno, by and through his attorney, James P.
Vacca, Esq., complains and alleges and states as follows:

1. This is a civil rights and false arrest action in which plaintiff seeks
relief for the violation of his rights secured by 42 USC §1983, §1988, the
Fourth and Fourteenth Amendrnents to the United States Constitution, and
common law.

2. The claims arise from a November 22, 2016 incident in which the
Plaintiff, Joseph J. Arieno, Was arrested in the Town of Brighton, County of
Monroe, and State of NeW York, for Driving While Intoxicated, Driving While
Ability is Impaired by Drugs, and several traffic infractions, by members of the

Monroe County Sherifi"s Departrnent.

 

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3. The Plaintiff is a resident of the County of Monroe, State of New
York.

4. The Defendant’s are Municipal Corporations doing business in the
County of Monroe, State of New York.

5. Within 90 days of the incident, Plaintiff filed and served a Written
Notice of Claim with the County of Monroe and the Monroe County Sherifi’s
Departrnent. Over 30 days have elapsed since the filing of that notice, and this
matter has not been settled or otherwise disposed of.

6. That on or about November 22, 2016, in the Town of Brighton,
County of Monroe, and State of New York, on Route 490 East at Exit 22, in the
Town of Brighton, the Plaintiff, Joseph J. Arieno, was operating a motor
vehicle, and was stopped by Mernbers of the Monroe County Sheriff’S
Department, and eventually charged with Driving While Intoxicated in Violation
of Section 1 192(3) of the New ¥ork State Vehicle and Traffic Law; Driving While
Ability is Impaired by Drugs, in violation of Section 1192(4) of the New York
State Vehicle and Tral`fic Law, and several trach violations, in violation of the
New York State Vehicle and Traffic Law, despite having a Blood Alcohol
Level of 0.00%, and exhibiting no signs of intoxication, ingestion of alcohol or
illegal drugs or substances, and not exhibiting any signed of intoxication

7. The Plaintiff, Joseph J. Arieno, was eventually charged with these
crimes, taken into custody by the Defendant’s, and deprived of his freedom,
and illegally charged with crimes that he exhibited no signs of violating That

as a result, the Pla.intiff, Joseph J. Arieno, Was deprived of his freedom,

 

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suffered pain and suffering by having handcuffs placed too tight on his wrists,
and suffered unlawful arrest, unlawful imprisonment, and damages on account
of the conscious pain and suffering, legal expenses, and damages received by
Joseph J. Arieno, and in support thereof, and, as a result, suffered personal
injuries, wrongful death, conscious pain and suffering, and medical expenses

8. That this arrest was litigated in the Brighton Town Court before
the Honorable Karen Morris, and was prosecuted by members of the Monroe
County District Attorney’s Office. Toxicolog' reports were performed on urine
taken from Mr. Arieno, and the results came back negative for all illegal
substances That Mr. Arieno’s blood alcohol content on the evening of
November 22, 2016, was 0.00 when tested by members of the Monroe County
Sheriff’s Department.

9. That the criminal matter was scheduled to go to trial, and the
Monroe County District Attorney’s Oflice did not prosecute or try the DWI and
DWAI by Drugs charges pending against Mr. Arieno, due to lack of evidence. On
December 11, 2017 , in the Town of Brighton Justice Court, the DWI and DWAI
by Drugs charges, both misdemeanors, were withdrawn and dismissed by the
Monroe County District Attorney’s Oflice, and Mr. Arieno plead guilty to two (2)
traffic infractions of the New York State Vehicle and Trafiic Law, and fined
$23.00 and $93.00 as a surcharge on each ticket, for a total due of $236.00.

10. The aforesaid unlawful arrest, unlawful imprisonment, unlawful
and unwarranted prosecution, and damages generally sustained by Plaintiff,

Joseph J. Arieno, and personal injuries, conscious pain and suffering, other

 

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expenses, and all injuries and resulting damages hereinafter alleged, were
caused wholly and solely through the negligence and carelessness of the
Defendant’s, their agents, servants or employees of The County of Monroe and
the Monroe County Sheriff’s Department, and that its agents and employees,
acted improperly and negligently stopping Plaintiff Joseph J. Arieno’s vehicle,
and illegally and unlawfully arresting him for the crimes as noted above.

11. The Plaintiff, Joseph J. Arieno, solely by reason of the negligence
and misconduct of the Defendants, sustained injuries, conscious pain and
suffering, and damages, as noted above.

12. Plaintiff seeks monetary damages (special, compensatory, and
punitive) against defendants, as well as an award of costs and attorneys fees,
and such other and further relief as the Court deems just and proper.

13. At all times here mentioned defendants were acting under color of
state law, to wit, under color pf the statutes, ordinances, regulations, policies,
customs and usages of the State of New York and the County of Monroe.

14. At all times during the events described above, the defendants
were engaged in a joint venture and formed an agreement to violate plaintiffs’
rights. The individual officers assisted each other in performing the various
actions described and lent their physical presence and support and the
authority of their office to each other during said events. They failed to

intervene in the obviously illegal actions of their fellow officers against plaintiff

 

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FIRST CAUSE OF ACTION

15. That above paragraphs are incorporated herein by reference.

16. During all of the events above described, defendants acted
maliciously and with intent to injure plaintiff. As a direct and proximate result
of the acts of defendants, plaintiff suffered injuries to his wrists, hands, neck
back, and damages, including violation of his rights pursuant to the Fourth
and Fourteenth Amendments to the United States Constitution to be free from
an unreasonable search and seizure of their person; Violation of his right to
Due Process of Law under the Fourteenth Amendments to the United Stated
Constitution; Violation of their New York State Constitutional rights under
Article 1, Section 12 to be free from an unreasonable search and seizure;
Violation of their New York State Constitutional rights under Article 1, Section
6 to due process; Physical pain and suffering; Ernotional trauma and suffering,
including fear, embarrassment, humiliation, emotional distress, frustration,
extreme inconvenience, anxiety; Loss of liberty.

17. Defendant’s have deprived plaintiff of his civil, constitutional and
statutory rights under color of law and have conspired to deprive his of such
rights and are liable to plaintiff under 42 USC § 1983.

18. Defendants’ conduct deprived plaintiff of his right to be free of
unreasonable searches and seizures, pursuant to the Fourth and Fourteenth
Amendments to the United States Constitution. Defendants' conduct also
deprived plaintiff of his right to due process of law, pursuant to the Fourteenth

Amendment of the United States Constitution.

 

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19. That the Defendant’s falsely arrested plaintiff and failed to
intervene in each other's obviously illegal actions.

20. Plaintil`f has been damaged as a result of defendants wrongful
acts.

SECOND CAUSE OF ACTION

21. The above paragraphs are here incorporated by reference

22. The Defendant’s are liable for the damages suffered by plaintiff as
a result of the conduct of their employees, agents, and servants, in that, after
learning of their employees' violation of plaintiffs constitutional rights, they
failed to remedy the wrong; they have created a policy or custom under Which
unconstitutional practices occurred and allowed such policies or customs to
continue, and they have been grossly negligent in managing subordinates Who
caused the unlawful condition or event.

THIRD CAUSE OF ACTION

23. The above paragraphs are here incorporated by reference.

24. Defendants, acting under color of law, violated plaintiffs rights
pursuant to §§ 5, 6 and 12 of the New York State Constitution.

25. A damages remedy here is necessary to effectuate the purposes of
§§ 5, 6 and 12 of the New York State Constitution, and appropriate to ensure
full realization of plaintiffs rights under those sections

FIFTH CAUSE OF ACTION
26. The above paragraphs are here incorporated by reference

27. The Defendant’s owed a duty of care to plaintiff to prevent the loss

 

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of liberty and mental abuse sustained by plaintiff

28. The Defendant’s owed a duty of care to plaintiff because under the
same or similar circumstances a reasonable, prudent and careful person
should have anticipated an injury to plaintiff or those in a position similar to
plaintiffs as a result of this conduct.

29. Because of the Defendant’s negligent hiring and retention of
defendant officers, plaintiff incurred damages described above.

SIXTH CAUSE OF ACTION

30. The above paragraphs are here incorporated by reference.

31, Defendants’ intentional tortious acts Were undertaken within the
scope of their employment by the Defendant’s and in furtherance of the
Defendant’s interest

32. As a result of Defendants‘ tortious conduct in the course of their
employment and in furtherance of the business of Defendant’s, Plaintiff was
damaged.

WHEREFORE, plaintiffs demand judgment against the defendants,
jointly and severally, as follows:

A. In favor of plaintiff in an amount to be determined by a jury for
each of plaintist causes of action;

B. Awarding plaintiff punitive damages in an amount to be
determined by a jury;

C. Awarding plaintiff reasonable attorneys' fees, costs and

disbursements of this

 

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action; and
f
D. Granting such/other and further relief as this Court deems just

and proper.

Yours 85 e…d,“

JAMEs P.i vA c EsQ.

   
  
 

Attorney for endant
Joseph J. Arie o

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